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. AO 91'(Rev. ll/] l) Criminal Complaint AUSA Scott M_ Edenf“leld(312)353_5277
UNlTED STATES DlSTRlCT COURT {F'
NORTHERN DlSTRICT OF ILLINOIS l L E D `
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MAY 1 3 2915

UNITED STATES OF AMERICA

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V. CASE NUMBER' cLEnK,u.s.msTm TOSD'RT

JONATHAN SMALLEY 1 6 C R 3 118

CRIMINAL COMPLAINT MAGlsTRAT£ most mLBERi

l, the complainant in this case, state that the following is true to the best of my knowledge

and belief.

On or about April 20, 2016, at Chicago, in the Northern District of lllinois, Eastern Division, and
elsewhere, the defendant(s) violated:
Code Section Offense Description

Title 18, United States Code, Section Willfully transferred, transported, and delivered

922(a)(5) any firearm to any person Who the defendant
knew did not reside in the State in Which the
defendant resided

This criminal complaint is based upon these facts:

X Continued on the attached sheet.

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CMG A. ERIESN L~/

Special Agent, Burea' of .Al,co_hol, Tobacco,
` earms & EXplosives \ '

     
   
     

Sworn to before me and signed in my presence

Date: l\/laV 13, 2016
J ge’s 'igna.ture

Y T. GILBERT, U.S. Ma;:istratc Judge

City and state: Chicago lllinois JEF
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Case: 1:16-cr-00318 Document #: 1 Filed: 05/13/16 Page 2 of 8 Page|D #:2

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF lLLlNOIS SS
AFFIDAVIT
l, Craig Fries, being duly sworn, state as follows:
Background of Affiant

1. l am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms
and Explosives (“ATF”) and have been so employed since approximately 2014. l am
currently assigned to the ATF Chicago Field Division and my responsibilities
include the investigation of criminal violations of the federal firearms laws,
including Title 18, United States Code, Sections 922 and 924.

Basis and Purpose of Affidavit

2. The information in this Affidavit is based on interviews of witnesses,
review of records, my own observations and actions, information received from other
law enforcement agents, my experience and training, and the experience of other
agents

3. This Affidavit is submitted for the limited purpose of establishing that
there is probable cause to believe that Jonathan SMALLEY has willfully
transferred, transported, and delivered a firearm to a person Who the transferor
knew did not reside in the state in which the transferor resided, in violation of 18
U.S.C. §922(a)(3). Because of the limited purpose of this Affidavit, l have not

included all of the facts known to me or other law enforcement officers about the

investigation

 

 

Case: 1:16-cr-00318 Document #: 1 Filed: 05/13/16 Page 3 of 8 Page|D #:3

Background

4. Telephone subscriber records and commercial databases reflect that
SMALLEY resides in Natchez, Mississippi. ln addition, l have reviewed cellular
telephone records and pen register data for phone number (601) XXX-3603 (“Subject
Phone 1”) for the period between January 1, 2014, and present That data indicates
that Subject Phone 1, belonging to SMALLEY, as more fully set forth below, has
been located in Natchez, Mississippi, for the vast majority of that time. ATF records
reflect that SMALLEY does not possess a federal firearms license.

5. When an individual purchases a firearm from a Federal Firearms
Licensee (“FFL”), the FFL is required to make and keep certain documentation of
the transaction. The records reflect Who purchased the firearm, including the
purchaser’s date of birth, name, and address; and the firearm(s) purchased When
purchasing a firearm, the purchaser is also required to provide identification

6. Records obtained from various FFLs reflect that between May 18,
2009, and l\/lay 12, 2016, SMALLEY purchased a total of thirty-two firearms in the
Natchez area. As set forth below, eleven of those firearms were later recovered by
law enforcement officers in the Chicago area. Thus, there is probable cause to
believe that SMALLEY purchased the firearms in order to transport them to
Chicago and resell themto others. FFL records reflect that SMALLEY provided the

number associated with Subject Phone l at the time that he purchased firearms

 

 

Case: 1:16-cr-00318 Document #: 1 Filed: 05/13/16 Page 4 of 8 Page|D #:4

I. Transfer of firearm purchased April 19, 2016

7. FFL records reflect that on or about April 19, 2016, SMALLEY
purchased a SCCY CPX27 7 semi-automatic 9mm handgun from an FFL in Natchez.
Based on pen data, Subject Phone 1 was in contact with phone number 773 XXX -
2749 (“Subject Phone 15”) a total of 19 times between April 18, 2016, and April 23,
2016. Based upon information obtained through a federal search warrant, on April
19, 2016, Subject Phone 1 sent Subject Phone 15 two pictures of a firearm, the
appearance of which Was consistent with the one purchased on April 19, 2016.

8. On April 22, 2016, Subject Phone 1 sent Subject Phone 15 two picture
messages of United States Postal Service receipts showing shipping information for
a package from Washington, Mississippi, to Chicago, Illinois. According to the
United States Postal Service, the package was shipped to Chicago, Illinois, on April
20, 2016, and arrived on April 22, 2016.

II. Other firearms transported by Smalley
A. Firearms purchased by SMALLEY

9. Certain of the firearms purchased by SMALLEY in Mississippi and
recovered in Chicago are set forth below.

10. FFL records reflect that SMALLEY purchased a firearm in Natchez on
May 28, 2011. Chicago Police Department (“CPD”) records reflect that, on October

26, 2014, CPD recovered that firearm in Chicago from another individual

 

Case: 1:16-cr-00318 Document #: 1 Filed: 05/13/16 Page 5 of 8 Page|D #:5

11. FFL records reflect that SMALLEY purchased a firearm in Natchez on
l\/larch 12, 2014. CPD records reflect that CPD recovered the firearm in Chicago on
July 16, 2014, from another individual, who was a convicted felon.

12. FFL records reflect that SMALLEY purchased a firearm in Natchez on
March 26, 2014. CPD records reflect that CPD recovered the firearm on January 10,
2015, during the execution of a search warrant in Chicago.

13. FFL records reflect that SMALLEY purchased a firearm in Natchez on
March 28, 2014. CPD records reflect that on April 24, 2014, CPD recovered the
firearm in Chicago from another individual, who Was charged with unauthorized
use of a Weapon.

14. FFL records reflect that SMALLEY purchased a firearm in Natchez on
l\/larch 29, 2014. CPD records reflect that CPD recovered the firearm on l\/Iay 2,
2015. Records from the National lntegrated Ballistics lnformation Network indicate
that the gun was used in a homicide that occurred on May 29, 2014, in Chicago as
well as a shooting that occurred on June 2, 2014, in Chicago.

15. FFL records reflect that SMALLEY purchased a firearm in Natchez on
April 10, 2014. Police reports reflect that, on April 28, 2014, the Illinois State Police
recovered the firearm from an abandoned rental car involved in a hit and run in
Chicago.

16. FFL records reflect that on l\/lay 2, 2014, SMALLEY purchased a

handgun from an FFL in Natchez. CPD records reflect that, on or about July 30,

 

 

Case: 1:16-cr-00318 Document #: 1 Filed: 05/13/16 Page 6 of 8 Page|D #:6

2014, an individual was arrested by CPD in Chicago and charged with possessing
that firearm.

17. FFL records reflect that on July 9, 2014, SMALLEY purchased a
firearm from an FFL in Mississippi Police records reflect that the firearm was
recovered on July 18, 2014, by law enforcement officers from a rental car in South
Holland, Illinois.

18. FFL records reflect that on July 19, 2014, SMALLEY purchased a
firearm from an FFL in Natchez. CPD records reflect that the firearm was
recovered by CPD in Chicago on July 27, 2014, from another individual, who was
charged with unlawful possession of a firearm.

19. FFL records reflect that on July 24, 2014, SMALLEY purchased a
firearm from an FFL in Natchez. The firearm was recovered in Chicago by CPD on
May 26, 2015.

B. Transport of firearms purchased on or about February 26, 2016

20. FFL records indicate that Sl\/IALLEY purchased four firearms at a
Natchez FFL on February 26, 2016: a Ruger 9mm semi-automatic handgun, a
Taurus 9mm semi-automatic handgun, a Glock G22 .40 caliber semi-automatic
handgun, and a Glock G23 `.40 caliber semi-automatic handgun,

21. Telephone records indicate that on February 25, 2016, between 1:43
and 3:52 p.in., Subject Phone 1 exchanged six text messages with 630 XXX-X()72
(“Subject Phone 14”). A commercial database reflects that Subject Phone 14 is

associated with an individual who lives in lllinois. Records reflect no activity on
5

 

 

Case: 1:16-cr-00318 Document #: 1 Filed: 05/13/16 Page 7 of 8 Page|D #:7

Subject Phone 1 between the last of those text messages and a call, eight minutes
later, to the FFL from which Sl\/LALLEY Would later purchase the four firearms
Records reflect no activity on Subject Phone 1 after the call to the FFL until a phone
call received by Subject Phone 1 from Subject Phone 14, eight minutes later.

22, lnformation gathered pursuant to a search Warrant reflects that, on
February 25, 2016, at approximately 6:09 p.m., Subject Phone 1 received a text
message from Subject Phone 14 giving an address in Chicago. ln a text message
two minutes later, the user of Subject Phone 14 continued, “let me know how long.”

23. On February 26, 2016, between 9:11 and 9:17 a.m., Subject Phone 14
and Subject Phone 1 exchanged five text messages Less than an hour after the last
of those messages, Subject Phone 1 placed a call to the FFL from which SMALLEY
purchased the four firearms. At approximately 7:20 p.m. on February 26, 2016,
Subject Phone 1 received a text from Subject Phone 14 stating, “Turus 40 and ruger
9 [a Taurus .40 caliber and Ruger 9mm] do dat ruger got double trig.”

24. At approximately 10:30 a.m. on February 29, 2016, Subject Phone 1
sent a text message to Subject Phone 14 containing a UPS tracking code and
stating, “They’ll be there toma before 12.”

C. Transport of firearm purchased May 12, 2016
25. FFL records indicate that SMALLEY purchased a Glock l\/lodel 22 .40

caliber semi-automatic firearm in Natchez, Mississippi, on l\/[ay 12, 2016. On May

13, 2016, l observed SMALLEY at a hotel in Oak Lawn, Illinois. SMALLEY stated

 

 

Case: 1:16-cr-00318 Document #: 1 Filed: 05/13/16 Page 8 of 8 Page|D #:8

that he had a firearm and provided oral consent for agents to seize the firearm.
lnside the hotel room, agents located the firearm purchased on May 12, 2016.

CONCLUSION

26. Based on the foregoing, l submit that there is probable cause tol believe
that on or about April 20, 2016, Jonathan SMALLEY willfully transferred,
transported, and delivered a firearm to a person who the transferor knew did not

reside in the state in which the transferor resided, in violation of 18 U.S.C.

§ 922(a)(3).

/"V)
Cf\a-i{Fries / j
Special Agent
Bureau of Alcohol, Tobacco, Firearms and Explosives

    

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United States Magistrate Judge

 

